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                          Exhibit 1
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                                                UNITED STATES
                                    SECURITIES AND EXCHANGE COMMISSION
                                                               Washington, D.C. 20549


                                                                     FORM 10-K

                Annual Report Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
                                                        For the fiscal year ended December 31, 2017
                                                            Commission file number 001-36126



                                                   LGI HOMES, INC.
                                                (Exact name of registrant as specified in its charter)




                                        Delaware                                                            XX-XXXXXXX
               (State or other jurisdiction of incorporation or organization)                 (I.R.S. Employer Identification No.)


               1450 Lake Robbins Drive, Suite 430, The Woodlands,
                                    Texas                                                                     77380
                          (Address of principal executive offices)                                          (Zip code)

                                                                        (281) 362-8998
                                                     (Registrant’s Telephone Number, Including Area Code)



                                            Securities registered pursuant to Section 12(b) of the Act:

                               Title of each class                                    Name of each exchange on which registered
                          Common Stock ($0.01 par value)                                             NASDAQ

                                         Securities registered pursuant to Section 12(g) of the Act: None
             Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act.
             Yes ¨ No ý

             Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. Yes ¨
             No ý

             Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the
             Securities Exchange Act of 1934 during the preceding 12 months (or for such shorter period that the registrant was required to
             file such reports), and (2) has been subject to such filing requirements for the past 90 days. Yes ý No ¨




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                                                UNITED STATES
                                    SECURITIES AND EXCHANGE COMMISSION
                                                               Washington, D.C. 20549


                                                                     FORM 10-K

                Annual Report Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
                                                        For the fiscal year ended December 31, 2018
                                                            Commission file number 001-36126



                                                   LGI HOMES, INC.
                                                (Exact name of registrant as specified in its charter)




                                        Delaware                                                            XX-XXXXXXX
               (State or other jurisdiction of incorporation or organization)                 (I.R.S. Employer Identification No.)


               1450 Lake Robbins Drive, Suite 430, The Woodlands,
                                    Texas                                                                     77380
                          (Address of principal executive offices)                                          (Zip code)

                                                                        (281) 362-8998
                                                     (Registrant’s Telephone Number, Including Area Code)



                                            Securities registered pursuant to Section 12(b) of the Act:

                               Title of each class                                    Name of each exchange on which registered
                          Common Stock ($0.01 par value)                                             NASDAQ

                                         Securities registered pursuant to Section 12(g) of the Act: None
             Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act.
             Yes ý No ¨

             Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. Yes ¨
             No ý

             Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the
             Securities Exchange Act of 1934 during the preceding 12 months (or for such shorter period that the registrant was required to
             file such reports), and (2) has been subject to such filing requirements for the past 90 days. Yes ý No ¨




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Exhibits




                                               UNITED STATES
                                   SECURITIES AND EXCHANGE COMMISSION
                                                         Washington, D.C. 20549

                                                              FORM 10-K
(Mark One)


☒        Annual Report Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934

                                                 For the fiscal year ended December 31, 2020

                                                                           OR

☐          Transition Report Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934

                                                        For the transition period from to .

                                                       Commission file number 001-36126




                                                LGI HOMES, INC.
                                          (Exact name of registrant as specified in its charter)


                                  Delaware                                                                     XX-XXXXXXX
         (State or other jurisdiction of incorporation or organization)                           (I.R.S. Employer Identification No.)

 1450 Lake Robbins Drive, Suite 430,                The Woodlands, TX                                            77380
                   (Address of principal executive offices)                                                     (Zip code)


                                                                (281) 362-8998

                                              (Registrant ’ s Telephone Number, Including Area Code)




Securities registered pursuant to Section 12(b) of the Act:
            Title of each class                                  Trading symbol(s)                     Name of each exchange on which registered

 Common Stock, par value $0.01 per share                                  LGIH                               NASDAQ Global Select Market

Securities registered pursuant to Section 12(g) of the Act: None


                                                                                                              LGI HOMES 001799
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ITEM 6. SELECTED FINANCIAL DATA

     The selected historical balance sheet and statement of operations information presented as of December 31, 2020, 2019,
2018, 2017 and 2016 and for the years then ended have been derived from our audited historical consolidated financial
statements. The following table should be read together with, and is qualified in its entirety by reference to, our historical
consolidated financial statements and the accompanying notes included elsewhere in this Annual Report. The table should also
be read together with “ Management’s Discussion and Analysis of Financial Condition and Results of Operations .”

      The following table presents our selected historical financial and operating data as of the dates and for the periods
indicated.


                                                                           Year Ended December 31,

                                                   2020             2019             2018            2017             2016
                                                  (dollars in thousands, except per share data and average home sales price)

Statement of Operations Data:
                                                   2,367,           1,838,           1,504,          1,257,
Home sales revenues                           $       929      $       154      $       400     $       960      $ 838,320
Expenses:
  Cost of sales                                 1,764,832       1,401,675        1,124,484          937,540          616,707
  Selling expenses                                148,366          131,561          109,460          94,957           66,984
  General and administrative                       90,021           77,380           70,345          55,662           43,158
        Operating income                          364,710          227,538          200,111         169,801          111,471
Loss on extinguishment of debt                         —              169             3,599               —               —
Other income, net                                 (3,139)          (4,463)          (2,586)          (1,601)         (2,201)
Net income before income taxes                    367,849          231,832          199,098         171,402          113,672
Income tax provision                               43,954           53,224           43,812          58,096           38,641
Net income                                    $ 323,895        $ 178,608        $ 155,286       $ 113,306        $    75,031

Basic earnings per share (1)                  $     12.89      $      7.70      $      6.89     $      5.24      $      3.61

Diluted earnings per share (1)                $     12.76      $      7.02      $      6.24     $      4.73      $      3.41
Other Financial and Operating Data:
Average community count                             111.9             95.8             80.6            73.1             57.9
Community count at end of period                      116             106                88              78               63
Home closings                                       9,339            7,690            6,512           5,845            4,163
Average sales price per home closed           $ 253,553        $ 239,032        $ 231,020       $ 215,220        $ 201,374

Gross margin (2)                              $ 603,097        $ 436,479        $ 379,916       $ 320,420        $ 221,613

Gross margin % (3)                                   25.5 %           23.7 %           25.3 %          25.5 %           26.4 %


                                                                                                 LGI HOMES 001859
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Results of Operations

The following table sets forth our results of operations for the years ended December 31, 2020, 2019 and 2018.


                                                                                      Year Ended December 31,

                                                                        2020                         2019                         2018
                                                                    (dollars in thousands, except per share data and average home sales price)

Statement of Income Data:
Home sales revenues                                             $       2,367,929           $        1,838,154           $        1,504,400
Expenses:
Cost of sales                                                           1,764,832                    1,401,675                    1,124,484
Selling expenses                                                          148,366                      131,561                      109,460
General and administrative                                                  90,021                       77,380                       70,345
      Operating income                                                    364,710                      227,538                      200,111
Loss on extinguishment of debt                                                    —                          169                       3,599
Other income, net                                                           (3,139)                     (4,463)                      (2,586)
      Net income before income taxes                                      367,849                      231,832                      199,098
Income tax provision                                                        43,954                       53,224                       43,812
  Net income                                                    $         323,895           $          178,608           $          155,286

Basic earnings per share                                        $             12.89         $               7.70         $               6.89
Diluted earnings per share                                      $             12.76         $               7.02         $               6.24
Other Financial and Operating Data:
Average community count                                                       111.9                         95.8                         80.6
Community count at end of period                                                116                          106                           88
Home closings                                                                 9,339                       7,690                        6,512
Average sales price per home closed                             $         253,553           $          239,032           $          231,020

Gross margin (1)                                                $         603,097           $          436,479           $          379,916

Gross margin % (2)                                                             25.5 %                       23.7 %                       25.3 %

Adjusted gross margin (3)                                       $         648,350           $          475,033           $          405,635

Adjusted gross margin % (2)(3)                                                 27.4 %                       25.8 %                       27.0 %

EBITDA (4)                                                      $         408,940           $          267,705           $          224,120

EBITDA margin % (2)(4)                                                         17.3 %                       14.6 %                       14.9 %

Adjusted EBITDA (4)                                             $         410,673           $          266,735           $          226,541


                                                                                                         LGI HOMES 001866
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Exhibits




                                                UNITED STATES
                                    SECURITIES AND EXCHANGE COMMISSION
                                                          Washington, D.C. 20549

                                                               FORM 10-K
(Mark One)


☒         Annual Report Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
                                                  For the fiscal year ended December 31, 2021

                                                                            OR

☐          Transition Report Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934

                                                         For the transition period from to .

                                                        Commission file number 001-36126




                                                 LGI HOMES, INC.
                                           (Exact name of registrant as specified in its charter)


                                   Delaware                                                                     XX-XXXXXXX
          (State or other jurisdiction of incorporation or organization)                           (I.R.S. Employer Identification No.)

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                    (Address of principal executive offices)                                                     (Zip code)


                                                                 (281) 362-8998

                                               (Registrant ’ s Telephone Number, Including Area Code)




Securities registered pursuant to Section 12(b) of the Act:
            Title of each class                                   Trading symbol(s)                     Name of each exchange on which registered

 Common Stock, par value $0.01 per share                                   LGIH                               NASDAQ Global Select Market

Securities registered pursuant to Section 12(g) of the Act: None


Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes ☒ No ☐


                                                                                                               LGI HOMES 001957
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                                                   LGI HOMES, INC.
                                   CONSOLIDATED STATEMENTS OF OPERATIONS
                                    (In thousands, except share and per share data)

                                                                         For the Year Ended December 31,
                                                                  2021                  2020                  2019

Home sales revenues                                        $        3,050,149    $        2,367,929       $    1,838,154

Cost of sales                                                       2,232,115             1,764,832            1,401,675
Selling expenses                                                      170,005               148,366             131,561
General and administrative                                            100,331                   90,021           77,380
        Operating income                                              547,698               364,710             227,538
Loss on extinguishment of debt                                         13,976                       —                169
Other income, net                                                      (9,053)                  (3,139)          (4,463)
Net income before income taxes                                        542,775               367,849             231,832
Income tax provision                                                  113,130                   43,954           53,224
Net income                                                 $          429,645    $          323,895       $     178,608
Earnings per share:
    Basic                                                  $             17.46   $               12.89    $          7.70
    Diluted                                                $             17.25   $               12.76    $          7.02

Weighted average shares outstanding:
    Basic                                                          24,607,231            25,135,077           23,191,595
    Diluted                                                        24,908,991            25,380,560           25,430,841




                             See accompanying notes to the consolidated financial statements.



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                                                                                            LGI HOMES 002062
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Exhibits




                                                UNITED STATES
                                    SECURITIES AND EXCHANGE COMMISSION
                                                          Washington, D.C. 20549

                                                               FORM 10-K
(Mark One)


☒         Annual Report Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
                                                  For the fiscal year ended December 31, 2022

                                                                            OR

☐          Transition Report Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934

                                                         For the transition period from to .

                                                        Commission file number 001-36126




                                                 LGI HOMES, INC.
                                           (Exact name of registrant as specified in its charter)


                                   Delaware                                                                     XX-XXXXXXX
          (State or other jurisdiction of incorporation or organization)                           (I.R.S. Employer Identification No.)

 1450 Lake Robbins Drive, Suite 430,                 The Woodlands, TX                                            77380
                    (Address of principal executive offices)                                                     (Zip code)


                                                                 (281) 362-8998

                                               (Registrant ’ s Telephone Number, Including Area Code)




Securities registered pursuant to Section 12(b) of the Act:
            Title of each class                                   Trading symbol(s)                     Name of each exchange on which registered

 Common Stock, par value $0.01 per share                                   LGIH                               NASDAQ Global Select Market

Securities registered pursuant to Section 12(g) of the Act: None


Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes ☒ No ☐


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Results of Operations

The following table sets forth our results of operations for the years ended December 31, 2022, 2021 and 2020.


                                                                                       Year Ended December 31,

                                                                        2022                         2021                         2020
                                                                    (dollars in thousands, except per share data and average home sales price)

Statement of Income Data:
Home sales revenues                                             $       2,304,455           $        3,050,149           $        2,367,929
Expenses:
Cost of sales                                                           1,657,855                    2,232,115                    1,764,832
Selling expenses                                                          144,928                      170,005                      148,366
General and administrative                                                111,565                      100,331                        90,021
      Operating income                                                    390,107                      547,698                      364,710
Loss on extinguishment of debt                                                    —                      13,976                             —
Other income, net                                                         (28,009)                      (9,053)                      (3,139)
      Net income before income taxes                                      418,116                      542,775                      367,849
Income tax provision                                                        91,549                     113,130                        43,954
  Net income                                                    $         326,567           $          429,645           $          323,895

Basic earnings per share                                        $             13.90         $             17.46          $             12.89
Diluted earnings per share                                      $             13.76         $             17.25          $             12.76
Other Financial and Operating Data:
Average community count                                                        91.9                       104.4                        111.9
Community count at end of period                                                  99                         101                          116
Home closings                                                                 6,621                      10,442                        9,339
Average sales price per home closed                             $         348,052           $          292,104           $          253,553

Gross margin (1)                                                $         646,600           $          818,034           $          603,097

Gross margin % (2)                                                             28.1 %                       26.8 %                       25.5 %

Adjusted gross margin (3)                                       $         673,745           $          860,544           $          648,350

Adjusted gross margin % (2)(3)                                                 29.2 %                       28.2 %                       27.4 %

EBITDA (4)                                                      $         439,968           $          581,475           $          408,940

EBITDA margin % (2)(4)                                                         19.1 %                       19.1 %                       17.3 %

Adjusted EBITDA (4)                                             $         418,828           $          591,362           $          410,673


                                                                                                         LGI HOMES 002331
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Exhibits




                                                UNITED STATES
                                    SECURITIES AND EXCHANGE COMMISSION
                                                          Washington, D.C. 20549

                                                               FORM 10-K
(Mark One)


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                                                  For the fiscal year ended December 31, 2023

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                                                        Commission file number 001-36126




                                                 LGI HOMES, INC.
                                           (Exact name of registrant as specified in its charter)


                                   Delaware                                                                     XX-XXXXXXX
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                    (Address of principal executive offices)                                                     (Zip code)


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                                               (Registrant ’ s Telephone Number, Including Area Code)




Securities registered pursuant to Section 12(b) of the Act:
            Title of each class                                   Trading symbol(s)                     Name of each exchange on which registered

 Common Stock, par value $0.01 per share                                   LGIH                               NASDAQ Global Select Market

Securities registered pursuant to Section 12(g) of the Act: None


Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes ☒ No ☐


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Results of Operations

The following table sets forth our results of operations for the years ended December 31, 2023, 2022 and 2021.


                                                                                      Year Ended December 31,

                                                                        2023                         2022                         2021
                                                                    (dollars in thousands, except per share data and average home sales price)

Statement of Income Data:
Home sales revenues                                             $       2,358,580           $        2,304,455           $        3,050,149
Expenses:
Cost of sales                                                           1,816,393                    1,657,855                    2,232,115
Selling expenses                                                          191,582                      144,928                      170,005
General and administrative                                                117,350                      111,565                      100,331
      Operating income                                                    233,255                      390,107                      547,698
Loss on extinguishment of debt                                                    —                            —                      13,976
Other income, net                                                         (28,499)                     (28,009)                      (9,053)
      Net income before income taxes                                      261,754                      418,116                      542,775
Income tax provision                                                        62,527                       91,549                     113,130
  Net income                                                    $         199,227           $          326,567           $          429,645

Basic earnings per share                                        $              8.48         $             13.90          $             17.46
Diluted earnings per share                                      $              8.42         $             13.76          $             17.25
Other Financial and Operating Data:
Average community count                                                       103.9                         91.9                       104.4
Community count at end of period                                                117                            99                         101
Home closings                                                                 6,729                       6,621                       10,442
Average sales price per home closed                             $         350,510           $          348,052           $          292,104

Gross margin (1)                                                $         542,187           $          646,600           $          818,034

Gross margin % (2)                                                             23.0 %                       28.1 %                       26.8 %

Adjusted gross margin (3)                                       $         582,047           $          673,745           $          860,544

Adjusted gross margin % (2)(3)                                                 24.7 %                       29.2 %                       28.2 %

EBITDA (4)                                                      $         297,530           $          439,968           $          581,475

EBITDA margin % (2)(4)                                                         12.6 %                       19.1 %                       19.1 %


                                                                                                         LGI HOMES 002181
